                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION

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                                                                   :
   LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-00121-TAV-DCP
   beneficiary of the Kenneth Ray Martin Roth IRA,                 :
   and MARTIN WEAKLEY on behalf of themselves :
   and all others similarly situated,                              :
                                                                   :
                                       Plaintiffs,                 :
                                                                   :
                              v.                                   :
                                                                   :
   KPMG LLP,                                                       :
                                                                   :
                                       Defendant.                  :
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               DEFENDANT KPMG LLP’S MOTION TO STAY PROCEEDINGS
                               PENDING APPEAL




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          Pursuant to Rule 23(f) of the Federal Rules of Civil Procedure, Defendant KPMG LLP

   (“KPMG”) respectfully moves the Court to stay proceedings pending resolution of its Rule 23(f)

   petition for permission to appeal to the United States Court of Appeals for the Sixth Circuit.

          On May 7, 2021, the Court entered an order certifying the respective classes on Plaintiffs’

   claims under the Sections 10(b) and 11 classes (the “Order”). (ECF No. 211.) The Order raises

   three related issues of significant practical importance to class certifications in securities cases

   arising under Section 10(b) of the Securities Exchange Act of 1934 and Section 11 of the

   Securities Act of 1933, which have produced widespread disagreement among district courts.

   Accordingly, on May 21, 2021 KPMG filed a Rule 23(f) petition for permission to appeal the

   Court’s Order Granting Class Certification to the Sixth Circuit (the “Petition”). The Petition is

   currently pending before the Sixth Circuit and that Court’s decision will have a potentially

   dispositive impact on this case.

          In determining whether a stay is appropriate, the Court should consider: (1) the likelihood

   that KPMG will prevail on the merits of the appeal; (2) the likelihood that KPMG will be

   irreparably harmed absent a stay; (3) the prospect that Plaintiffs will be harmed by a stay; and (4)

   the public interest in granting a stay. See Grutter v. Bollinger, 247 F.3d 631, 632 (6th Cir. 2001)

   (internal citation omitted). Here, all four factors weigh in favor of a stay. First, KPMG has shown

   a likelihood of success on the merits. The Order certifying the Section 10(b) class implicates two

   unsettled issues of law in the Sixth Circuit: (1) whether a defendant can rebut the Basic

   presumption of reliance with evidence that the alleged misrepresentation did not result in a price

   increase; and (2) whether the Affiliated Ute presumption of reliance applies in a case primarily

   concerning misstatements. In addition, the Order certifying the Section 11 class held that the




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   class representative did not need to demonstrate standing to bring the class’s claim at the class

   certification stage. However, other courts have squarely rejected that view.

          Second, KPMG will be irreparably harmed if the stay is not granted; whereas the

   issuance of a stay pending resolution of the Petition will not prejudice Plaintiffs. Finally, public

   interest will be advanced by the issuance of a stay – proceeding without clarification from the

   Sixth Circuit on these important and unsettled legal issues would be a waste of judicial and party

   resources.

          For the reasons stated herein and in the accompanying memorandum of law, KPMG

   respectfully requests that this Court enter an Order staying the proceedings in this case pending

   resolution of its Rule 23(f) petition currently pending in the Sixth Circuit.



   Dated: May 21, 2021                            Respectfully submitted,


                                                   /s/ Gregory G. Ballard
                                                  MCDERMOTT WILL & EMERY LLP
                                                  Gregory G. Ballard (admitted pro hac vice)
                                                  Ludwig von Rigal (admitted pro hac vice)
                                                  340 Madison Avenue
                                                  New York, New York 10173
                                                  Telephone: 212-547-5330
                                                  Email: gballard@mwe.com
                                                  Email: lvonrigal@mwe.com

                                                  Allyson E. Riemma (admitted pro hac vice)
                                                  444 West Lake Street
                                                  Chicago, IL 60606
                                                  Telephone: 312-372-2000
                                                  Email: ariemma@mwe.com

                                                  WALLER LANSDEN DORTCH & DAVIS, LLP
                                                  Paul S. Davidson (TN BPR # 011789)
                                                  511 Union Street, Suite 2700
                                                  Nashville, TN 37219
                                                  Telephone: 615-244-6380
                                                  Email: paul.davidson@wallerlaw.com


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                                      LEWIS ROCA ROTHGERBER CHRISTIE LLP
                                      Gary F. Bendinger (admitted pro hac vice)
                                      201 East Washington Street, Suite 1200
                                      Phoenix, AZ 85004
                                      Telephone: 602-262-5353
                                      Email: gbendinger@lrrc.com

                                      Counsel for Defendant KPMG LLP




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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and exact copy of the foregoing has been served to the following
   individuals via the CM/ECF system and e-mail this 21st day of May, 2021:
   Gordon Ball
   W. Gordon Ball, Attorney At Law
   7001 Old Kent Drive
   Knoxville, TN 37919
   gball@gordonball.com

   Steven J. Toll
   Cohen, Milstein, Sellers Toll PLLC
   1100 New York Avenue NW
   Fifth Floor
   Washington, DC 20005-3934
   stoll@cohenmilstein.com

   Laura H. Posner
   88 Pine Street, 14th Floor
   New York, NY 10005
   lposner@cohenmilstein.com

                                                 /s/ Gregory G. Ballard
                                                 Gregory Ballard




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